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            Exhibit 65
February 2020 Martin Tripp Tweets




                                                             MSJ_707
3/3/2020            Case 3:18-cv-00296-MMD-CLB
                                          Tweets withDocument
                                                     replies by Martin181-2     Filed 05/05/20
                                                                       Tripp (@tripp_martin) | Twitter Page 2 of 6

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                                                           Tweets
                                                            125
                                                                       Following
                                                                          67
                                                                                       Followers
                                                                                         293
                                                                                                     Likes
                                                                                                     238                               Follow         
                                                            Tweets        Tweets & replies               Media
       Martin Tripp
       @tripp_martin                                                Martin Tripp @tripp_martin · Mar 1                                                
       Tesla SAFETY, scrap, waste Whistleblower.                    Replying to @BernieSanders
       What you might think you know about                          @BernieSanders care to help our cause?
       what happened; you're most likely wrong.
       Facts are important :-)

          Budapest

          gofundme.com/f/tripp-vs-tes…

          Joined January 2020


                 Tweet to Martin Tripp


          Photos and videos




                                                                       Tripp vs Tesla: Help fund the fight organized by Martin Tripp
                                                                       My name is Martin Tripp and I am asking for your help! I'm originally from a
                                                                       small to… Martin Tripp needs your support for Tripp vs Tesla: Help fund the
                                                                       gofundme.com


                                                                                                   1         
                                                                    Martin Tripp @tripp_martin · Mar 1                                                
                                                                    Replying to @BernieSanders
                                                                    We are asking for financial support as well @BernieSanders




https://twitter.com/tripp_martin/with_replies                                                                                  MSJ_708                    1/19
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                                                                 Messages                              
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                                                                Martin Tripp @tripp_martin · Feb 4                                            
                                                                Replying to @tomdimaggio @nico7860 @SadBillAckman
                                                                And I care why?

                                                                    1                                  
                                                                Martin Tripp @tripp_martin · Feb 3
                                                                That should have been 'thing'. Sorry
                                                                                                                                              
                                                                                                       
                                                                Show this thread

                                                                Martin Tripp @tripp_martin · Feb 3                                            
                                                                Replying to @Latrilife @realDailyWire @mydoghasagun
                                                                She didnt look very peaceful when she was shaming "how dare you"! What a
                                                                load of bullshit.

                                                                    1                        2         
                                                                Martin Tripp @tripp_martin · Feb 2                                            
                                                                Replying to @808Vinny @pac_watson
                                                                I dont see ANYWHERE in which @pac_watson is spreading 'doom and gloom'.
                                                                She is simply relating factual information. Why are you so full of hate and
                                                                negativity?

                                                                    3                        2         
                                                                Martin Tripp @tripp_martin · Feb 2                                            
                                                                Replying to @tripp_martin @Stealthwater @3d_Cristina
                                                                My best guess.

                                                                                                       
                                                                Martin Tripp @tripp_martin · Feb 2                                            
                                                                Replying to @Stealthwater @3d_Cristina
                                                                Internal EMI. eg; poor shielding of buss/communication lines.

                                                                    2                                  
                                                                Martin Tripp @tripp_martin · Feb 2                                            
                                                                Replying to @Stealthwater
                                                                @3d_Cristina would probably know a lot about the 'S'. I would say it is either
                                                                valid or the BMS(whatever sends the data) sucks. Could be poor buss design. I
                                                                used to perform BCI/GEM testing of vehicle electronics and saw odd readings spit
                                                                out with high levels of radiation/EMI.

                                                                    1                                  
                                                                Martin Tripp @tripp_martin · Feb 2                                            
                                                                Replying to @Stealthwater
                                                                How are you logging (pulling data)? Are you grabbing actual voltage, or using
                                                                like an arduino or something and calculating based off the voltage changes from
                                                                a sensor?

                                                                    1                                  
                                                                Martin Tripp @tripp_martin · Feb 2                                            
                                                                Replying to @Freshfuel1
                                                                Looks like pics taken from internal


https://twitter.com/tripp_martin/with_replies
                                                                    1                                                 MSJ_709                   7/19
3/3/2020            Case 3:18-cv-00296-MMD-CLB
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                                                     replies by Martin181-2
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                                                                Martin Tripp @tripp_martin · Feb 2
                                                                                                                                         Tweet
                                                                                                                                                    
                                                                10. I also have probably forgotten more than I care to remember over the last two
                                                                years. Good thing I have documentation to back up my thoughts.

                                                                                              1        
                                                                Show this thread

                                                                Martin Tripp @tripp_martin · Feb 2
                                                                9. Keep in mind, I am NOT an expert, nor do I pretend to be. I DO know quite a
                                                                                                                                                    
                                                                bit about Li-Ion batteries both from personal learning, as well as 'professional'
                                                                training at my previous employer. I have been PRO trained by Scientists,
                                                                Chemists, Engineers, and Technicians.

                                                                       2                      3        
                                                                Show this thread

                                                                Martin Tripp @tripp_martin · Feb 2                                                  
                                                                8. After just 3 days, and it is quite humid due to rain over the last few weeks. I will
                                                                need to take new pics, as now after a week, it is absolute powder.




                                                                       4                      3        
                                                                Show this thread

                                                                Martin Tripp @tripp_martin · Feb 2
                                                                7. As noted before, this was the bottom of the cell, but it doesn't matter. If
                                                                                                                                                    
                                                                someone says it does, they don't know what they are talking about. Let's look at
                                                                this particular cell after just THREE days (day 1 was mostly clear liquid).

                                                                       1                      4        
                                                                Show this thread

                                                                Martin Tripp @tripp_martin · Feb 2
                                                                6. I have been tearing down old battery packs that were trashed, and testing to
                                                                                                                                                    
                                                                make a large bank to power some lights. I accidentally pulled too hard/fast on a
                                                                tab, and (luckily) fluid began leaking out. You know the smell as soon as it
                                                                happens.

                                                                       1                      5        
                                                                Show this thread

                                                                Martin Tripp @tripp_martin · Feb 2
                                                                5. This was brought to MANY levels of leadership, and I was laughed at.
                                                                                                                                                    
                                                                Especially when I discussed punctured cells. Now, someone commented that the
                                                                     i            1     ll              h      d      d h diff b i i h h
https://twitter.com/tripp_martin/with_replies                                                                                MSJ_710                      8/19
3/3/2020            Case 3:18-cv-00296-MMD-CLB
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                                                                            
                                                                certain car uses 2170 cells. I'm not sure they understand the diff, but it is that the
           Home            Moments              Notifications   2170  is larger than the 18650.
                                                                 Messages                      Search Twitter                                  Tweet

                                                                       1                      5        
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                                                                Martin Tripp @tripp_martin · Feb 2




                                                                       1                      5        
                                                                Show this thread

                                                                Martin Tripp @tripp_martin · Feb 2




                                                                       1                      5        
                                                                Show this thread

                                                                Martin Tripp @tripp_martin · Feb 2
                                                                2. Of course they are not the only ones to use BMSs, so sorry if I left some
                                                                                                                                                   
                                                                confusion...I was leading on the following tweet. So a good management of Li-
                                                                Ion cells should include balancing. Up to 25 cells in series (approx 90vdc) and two
                                                                have a huge diff in internal resistance

                                                                       1                      7        
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                                                                Martin Tripp @tripp_martin · Feb 2



                                                                                           I honestly can't remember EXACT numbers (it's been
                                                                nearly two years).

                                                                       1                      8        
                                                                Show this thread

                                                                Martin Tripp @tripp_martin · Feb 2                                                 
                                                                Replying to @BonaireVolt
                                                                It IS the bottom, but it is NOT adherent.

                                                                                                       
                                                                Martin Tripp @tripp_martin · Feb 2                                                 
                                                                Replying to @EugenioBruno42
                                                                Ah thank you. Probably too late to correct it?

                                                                       1                               
                                                                Martin Tripp @tripp_martin · Feb 2
                                                                2. Li-ion batteries do leak fluid, but it QUICKLY dries and becomes a powder. I
                                                                                                                                                   
                                                                brought this to numerous folks attention, only to be laughed at and shunned.
                                                                Case in point...

                                                                       1                      3        
                                                                Martin Tripp @tripp_martin · Feb 2
                                                                One in which i told/questioned numerous Engineers, Managers, and VPs about
                                                                                                                                                   
https://twitter.com/tripp_martin/with_replies                                                                             MSJ_711                     9/19
3/3/2020            Case 3:18-cv-00296-MMD-CLB
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                                                                                              Search Twitter
                                                                Martin Tripp @tripp_martin · Feb 2
                                                                                                                                                Tweet
                                                                                                                                                   
                                                                Now lets talk about batteries... 1. A certain car is very limited in the safety of its
                                                                batteries. What i mean os that it has a BMS, but no proper way of balancing.
                                                                Don't believe me? Look at teardowns of it. A piss-poor design if you ask me...

                                                                                               2        
                                                                Martin Tripp @tripp_martin · Feb 2
                                                                I pride myself on thinking im fairly smart and knowledgeable. Certain subjects
                                                                                                                                                   
                                                                much more than others. If it pertains to my job, i try to be the subject matter
                                                                expert; hence why i was the 'Process Engineering Technician LEAD'.

                                                                    1                          1        
                                                                Martin Tripp @tripp_martin · Feb 2
                                                                In a certain Bloomberg article I was quoted as saying (to the interrogators): "I'm
                                                                                                                                                   
                                                                not that smart". The proper way to have quoted would be: "I'm not THAT smart",
                                                                meaning that i cannot code. I simply lack the discipline to learn it. I have too
                                                                many other thkngs to focus on.

                                                                                               2        
                                                                Martin Tripp @tripp_martin · Feb 2
                                                                Preface: anything I write about is public knowledge (pro white papers, videos of
                                                                                                                                                   
                                                                teardowns, editorials, etc). Btw, if I miss-type something, it is because im typing
                                                                fast and half my thumb is scar tissue from a table saw accident.

                                                                                                        
                                                                Martin Tripp @tripp_martin · Feb 2
                                                                Lets talk about some 'techie' things...
                                                                                                                                                   
                                                                                                        
                                                                Martin Tripp @tripp_martin · Feb 2                                                 
                                                                Replying to @Nurkbonis @patentjohntran and 8 others
                                                                It is assumed that range woild be lost, just as any other battery. BUT, not as much
                                                                as these paperweights do

                                                                                                        
                                                                Martin Tripp @tripp_martin · Feb 1                                                 
                                                                Replying to @Maykou1st @FredericLambert @ElectrekCo
                                                                Marty' take; "You've been Musk'd".

                                                                                               1        
                                                                Martin Tripp @tripp_martin · Feb 1
                                                                ANY vehicle accident is very sad, but these are no accident(s) at all. These are
                                                                                                                                                   
                                                                what I try to warn the public about!


                                                                  Montanner Skeptic @montana_skeptic
                                                                  This is the $TSLA anti-viral filter at work.

                                                                  Hey, you wanted fast charging & longer range, and didn't care about capacity
                                                                  degradation, so we sacrificed battery safety to please you. Porsche, Audi,…


                                                                                               1        
                                                                Martin Tripp @tripp_martin · Feb 1                                                 
                                                                Replying to @patentjohntran @DaniloKawasaki and 7 others
                                                                As an Auto manufacturer

https://twitter.com/tripp_martin/with_replies                                                                                MSJ_712                     10/19
